Case 2:04-cv-02434-.]DB-dkv Document 8 Filed 06/02/05 Page 1 of 2 Page|D 23

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UNITED sTA TES DISTRICT COURT Fu£t) er thl(s!`.w‘_ D.c.
WESTERN DISTRICT OF TENNESSEE 05 JUN __2 PH m 23
WESTERN DIVISION

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W_D. O.‘ "§`.i~i MEMFH!S
BETTY A. BR()OKINS, .IUDGMENT IN A CIVIL CASE
Plaintiff,
V.
CITIGR()UP, INC.; CITIFINANCIAL CASE NO: 04-2434-B

CREDIT COMPANY; CITIFINANCIAL, INC.;
ASSOCIATES FIRST CAPITAL CORPORATI()N,
NKA CITIGROUP, INC. OR CITIFINANCIAL;
ASSOCIATES CORPORATION OF NORTH
AMERICA; ASSOCIATES FINANCIAL
SERVICES ()F AMERICA, INC.;and ASSOCIATES
LIFE INSURANCE C()MPANY

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

lT IS SO ORDERED AND ADJU])GED that in accordance with the Order Of Dismissal With
Prejudice entered on May 19, 2005, this cause is hereby dismissed with prejudice.

 

 

AP ovED:
@~IIEL BREEN M`
JNIT so STATES DISTRICT CoURT
(a O`, .'YGBERT R. D| TRCL§O
Date Clerk of Court

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Honorable .1. Breen
US DISTRICT COURT

